Case 07-38248 Document 1 Filed in TXSB on 12/02/07 Page 1 0141

(Official Form 1) (04I07)

12/02/2007 04:58:30pm

 

HOUSTON DlVlSION

UN|TED STATES BANKFIUPTCY COURT
SOUTHERN DlSTFt|CT OF TEXAS

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Swepston, Jack H.

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec./Complete ElN or other Tax l.D. No. (if more than one,
Sfate 3"): xxx.xx_8088

Last four digits of Soc. Sec./Complete ElN or other Tax l.D. No. (if more than one,
state all):

 

Street Address of Debtor (No. and Street, City, and State):
10063 Kemp Forest Drive
Hogston, TX

 

 

Street Address of Joint Debtor (No. and Street, City, and State):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

ZlP CODE ZtP CODE
77080-2601
County of Residence or of the Principal Place of Business: County of Ftesidence or of the Principal Plaoe of Business:
Harris
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
ZlP CODE ZlP CODE
Location ot Principal Assets of Business Debtor (if different from street address above):
ZlP CODE
Type of Deb_tor. Nature of Business Chapter of Bankruptcy Code Under Which
(F°"" °f Orgamzat‘°n) (Check One bo>C) the Petition is Filed (Check one box)
(Check one b°x') cl Health Care Business Chapter 7
E[ individual (includes Joint Debtors) I:l fSingle Asset Fteal Estate as defined |:] chapter 9 l:l Chapter 15 Petiv'on for Recognitton
See Exhibit D on page 2 of this form. m 11 U-S-C- § 101(5113) m Chapter 11 of a Foreign Main Proceeding
Fl 'l oad
m Corporation (includes LLC and LLF') m an m Chapter 12 I:l Chapter 15 Petition for Recognition
p h. m St°°kbr°ke" n Chapter 13 of a Foreign Nonmain Proceeding
|:| miners 'p m Commodity Broker
Other (lf debtor is not one of the above Clearin Bank
m entities, check this box and state type m g Nature of Debts (Check one box)
Of entity below') m ether ' Debts are primarin
Tax-Exempt Entity me ebe-
(Check box, if applicable.)
Debtor is a tax-exempt organization a ._
[.'.l under Tiiie 26 anne united siaies ho purpose ..
Code (the lnternal Revenue Code). '

 

Filing Fee (Check one box)
Full Filing Fee attached

Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court‘s consideration certifying that the debtor is
unable to pay fee except in installments Ftule 1006(b). See Otticial Form 3A.

E|E|

Filing Fee waiver requested tapplicable to chapter 7 individuals only). Must
attach signed application for the court's consideration See Official Form SB.

|:l

check one box: Chapter 11 Debtors

m Debtor is a small business debtor as defined by 1 1 U.S.C. § 101(51D).

n Debtor is not a small business debtor as defined in 11 U.S.C. § 101 (51D).

Check if:

m Debtor's aggregate noncontigent liquidated debts (exciuding debts owed to
insiders or affiliates) are less than $2,190,000.

Check all applicable boxes:

m A plan is being filed with this petition

l:|

Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

Statistical/Administrative lnformation
n Debtor estimates that funds will be available for distribution to unsecured creditors

there will be no funds available for distribution to unsecured creditors

Debtor estimates that, after any exempt property is excluded and administrative expenses paid,

TH|S SPACE IS FOR COURT USE ONLY

 

Estimated Number of Creditors

 

 

 

1- 50~ 100- 200- 1,000- 5,001- 10,001- 25,001- 50,001- OVER
49 99 1 99 999 5,000 1 0,000 25,000 50,000 100,000 100,000
ij |:] |:l l:l [:l l:l
Estimated Assets
$O to $10,000 to $100,000 to $1 miliion to More than $1()() million
m $10,000 m $100,000 M $1 million n $100 mi|iiOn m
Estimated Debts
0 to 50,000 to ur 100 000 to 1 million to ~ ~
m §50,000 m 100,000 -§1 million m 100 million m M°'e man $10° "“"‘°"

 

 

Computer software provided by LegalPFiO Systems, Inc., San Antonio, Texas (210) 561 ~5300, Copyn'ght 1996-2007 (Build 9.0.3.1, ID 1388969047)

 

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(otiiciai Form1)(o4/07) Fol=ilvl Bi`, P`age 2

V°|un'[ary Pe‘|'_i'[ion Name otDebtor(s): Jack H. SWepStOn `
(This page must be completed and filed in every case)
A|| Prior Bankruptcy Cases Filed Within Last 8 Years (lf more than two, attach additional sheet)

 

 

 

 

Location Where Filed: Case Number: Date Filed:
None
Location Where Filed: Case Number: Date Filed:

 

Pending Bankruptcy Case Filed by any Spouse, Partner or Affi|iate of this Debtor (lf more than one, attach additional sheet)

 

 

 

 

Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:
Exhibit A Exnibii B _ _ _ ’
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and (T° be C°mp'eted '_f deP'fDr ‘S an '"d“"dua‘
100) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) Wh°Se deth are P"ma"'i' C°"Sume" debts-1
of the securities Exchange Act of 1934 and is requesting relief under chapter 11.) l, the attorney for the petitioner named irl the foregoing petition declare that l have

informed the petitioner that [he or she] may proceed under chapter 7, 1 1 , 12, or 13
of title 1 1 , United States Code, and have explained the relief available under each
ij Exhibit A iS aiiached and made a pari oi iiiiS peiiiion_ such chapter. l further certify that l delivered to the debtor the notice required by
11 U.S.C. § 342(b).

X "‘ 12/02/2007
MAGD lNE EBEADE bare

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
|:] Yes, and Exhibit C is attached and made a part of this petition.

No.

 

Exhibit D
(To be completed by every individual debtor. lf a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
Exhibit D completed and signed by the debtor is attached and made a part of this petition.

|f this is a joint petition:
|'_'| Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

information Regarding the Debtor - Venue r,
(Check any applicable box) *

M Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

[:| There is a bankruptcy case conceming debtor‘s atfiliate, general partner, or partnership pending in this District.

n Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
or the interests of the parties will be served in regard to the relief sought in this District.

 

Statement by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

m Landlord has a judgment against the debtor for possession of debtors residence (lf box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

l:] Debtor ciaims that under applicable nonbankruptcy law, there are circumstances under Which the debtor Wou|d be permitted to cure the entire
monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

m Debtor has included in this petition the deposit with the court of any rent that would become due during the 30~day period after the filing of the
petition.

 

 

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(Official Form 1) (04/07)

12/02/2007 04:58:30pm
FORM B1, Page 3

 

Vo|untary Petition
(This page must be completed and filed in every case)

 

Name di odbior(s): Jack H. Swepston

 

Signatures

 

Signature(s) of Debtor(s) (lndividuallJoint)
l declare under penalty of perjury that the information provided in this petition is
true and correct.
{lf petitioner is an individual whose debts are primarily consumer debts and has
chosen to hle under chapter 7] l am aware that l may proceed under chapter 7,
1 1, 12 or 13 of title 11, United States Code, understand the relief available under
each such chapter, and choose to proceed under chapter 7.
[lf no attorney represents me and no bankruptcy petition preparer signs the
petition] l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 1 1 , United States Code,
specified in this petition

X‘~ ibt/y
Jac(ltwpston
X

 

 

Telephone Number (lf not represented by an attomey)

1 2lO2/2007
Date

Signature of a Foreign Representative

l declare under penalty of perjury that the information provided in this petition is true
and correct, that l am the foreign representative of a debtor in a foreign proceeding,
and that l am author'med to hle this petition.

(Check only one box.)

l request relief in accordance with chapter 15 of title 11, United States Code,
Certified copies of the documents required by 11 U.S.C. § 1515 are attached

m Pursuant to 11 U.S.C. § 1511, United States Code, l request relief in
accordance with the chapter of title 1 1 specified in this petition. A certified copy
of the order granting recognition of the foreign main proceeding is attached.

X

(Signature of Foreign Representative)

 

 

(Printed Name of Foreign Representative)

 

(Date)

 

Signature of Attorney

x fhwa elect
MAGDA EEBEADE

Bthdz2405054e
Cage, Hill & Niehaus, L.L.P.

5851 San Felipe
Suite 950
Houston, Texas 77057

Phone No.j713| 789-0500 Fax No.{71 31 974-0344

1 2/02/2007
Date

 

Signature of Debtor (Corporatioanartnership)

l declare under penalty of perjury that the information provided in this petition is
true and correct, and that l have been authorized to file this petition on behalf of
the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States
Code, specified in this petition. `

X

 

Printed Name of Authorized individual

 

Title of Authorized individual

 

Date

 

Signature of Non-Attorney Bankruptcy Petition Preparer
l declare under penalty of perjury that 1) | am a bankruptcy petition preparer as
defined in 1 1 U.S.C. § 110; 2) l prepared this document for compensation and
have provided the debtor with a copy of this document and the notices and
information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) it rules
or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
maximum fee for services chargeable by bankruptcy petition preparers, l have
given the debtor notice of the maximum amount before preparing any document
for filing for a debtor or accepting any fee from the debtor, as required in that
section. Official Form 1913 is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social Security number (lf the bankruptcy petition preparer is not an individual,
state the Social Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 

Addfe$$

X

 

Date

Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
partner whose Social Security number is provided above.

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is not
an individual:

lf more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11
and the Federal Flu/es of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 

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12/02/2007 04:58:30pm
Offif=ia|Form1,ExhibitD(10/06) UN|TED STATES BANKRUPTCY COURT
SCUTHERN DlSTR|CT 0F TEXAS
HOUSTDN DlVlSlON
lN Fth Jack H. Swepston Case No.
(if known)
Debtor(s)

EXH|BIT D - lNDlVlDUAL DEBTCR'S STATEMENT OF COMPL|ANCE WlTH
CRED|T COUNSEL|NG REQU|REMENT

Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. lf you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. lf that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. lf your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. lf a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.

1. Within the 180 days before the filing of my bankruptcy case, l received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and l have a certificate from the agency describing the services

provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

|:| 2. Within the 180 days before the filing of my bankruptcy case, l received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but | do not have a certificate from the agency describing the services

provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.

|:] 3. l certify that l requested credit counseling services from an approved agency but Was unable to obtain the services during
the five days from the time l made my request, and the following exigent circumstances merit a temporary waiver of the credit

counseling requirement so l can file my bankruptcy case now. [Must be accompanied by a motion for determination by the
courf.] [Summarize exigent circumstances here.]

lf the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must
still obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a
certificate from the agency that provided the briefing, together with a copy of any debt management plan developed through
the agency. Any extension of the 130-day deadline can be granted only for cause and is limited to a maximum of 15 days. A
motion for extension must be filed within the 30-day period. Fai|ure to fulfill these requirements may result in dismissal of
your case. lf the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

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12/02/2007 04:58:30pm
official Form 1, Exhibit D 110/06) uNlTED sTATEs BANKRuPTcY couRT
' SOUTHERN D|STR|CT OF TEXAS
HOUSTON D|VlSlCN
lN RE: Jack H. Swepston Case No.
(if known)
Debtor(s)

EXH|B|T D - lNDlVlDUAL DEBTOR'S STATEMENT OF COMPL|ANCE WlTH
CREDIT COUNSEL|NG REQU|REMENT

Continuation Sheet No. 1

|:|` 4. l am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

|:| lncapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
be incapable of realizing and making rational decisions With respect to financial responsibilites.);

|:| Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extenth being unable, after reasonable
effort, to participate in a credit counseling briefing in person, by telephone, or through the lnternet.);

|:| Active military duty in a military combat zone.

|:| 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement ot
11 U.S_C. § 109(h) does not apply in this district.

l certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: W

Jk H. Swepston

Date: 12/02/2007

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Certiflcate Number: 065 3 1-TXS-CC-002928819

 

CERTIFICATE OF COUNSELING

 

l CERTIFY that on NOVemb€r 27, 2007 , at 2:45 o’clock PM CST

7

Jack H Swepston Jr received B’Om

Allen Credit and Debt Counseling /\gencv

an agency approved pursuant to ll U.S.C. § ill to provide credit counseling in the
Southern District of Texas , an individual [or group] briefing that Complied
With the provisions of ll U.S.C. §§ 109(h) and lll.

A debt repayment plan Was not prepared . lt` adebt repayment plan Was prepared, a copy of
the debt repayment plan is attached to this certificate

This counseling session Was conducted by internat

 

Date: November 27, 2007 By /s/Susan Prentice

Name Susan Prentice

Title Credit Counselor

* Individuals Who wish to tile a bankruptcy case under title ll of the United States Bankruptcy
Code are required to tile with the Unilcti States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency See l l U.S.C. §§ 109(h) and 521(b).

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12/02/2007 04:58:30pm
5201 (04/09/06) UN|TED STATES BANKRUPTCY COURT
SOUTHERN DlSTRlCT OF TEXAS
HOUSTON D|VlSION

iN RE: Jack H. Swepston

NOT|CE TO lNDlVlDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
CF THE BANKRUPTCY CODE

in accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection With a bankruptcy case. You are cautioned that bankruptcy law' is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.

1. Services Ava_i_lgbie from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the lnternet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.

The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

in addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Avaiiab|e to individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Totai fee $299)

1. Chapter 7' is designed for debtors in financial difficulty Who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means tes " designed to determine whether the case should be permitted
to proceed under chapter 7. if your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. lt
is up to the court to decide whether the case should be dismissed

2. Under chapter 7, you may claim certain of your property as exempt under governing iaw. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. lf, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition Will be defeated

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not

properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, ita creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged

Chapter 13: Repayment of All or Part of the Debts of an individual with Regu|ar income
($235 filing fee, $39 administrative fee: Total fee $274)

1. Chapter 13 is designed for individuals with regular income who Would like to pay all or part of their debts in installments over

a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code,

2. Under Chapter 13, you must file With the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

Case 07-38248 Document 1 Filed in TXSB on 12/02/07 Page 8 of 412/02/2007 04:58:31[)"]

5201 (04/09/06) UN|TED STATES BANKFiUPTCY COURT EHQS 2
SCUTHERN DlSTRlCT OF TEXAS
HOUSTON DlVlS|ON

lN RE: Jack H. Swepston

3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations

Chagter 11: Reorganization ($1000 filing fee, $39 administrative fee: Totai fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available tc consumer debtors. its provisions are quite
complicated and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

1
Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Tota| fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation. »

3. Bankgptcv Crimes and Avai|abilitv of Bankruptcy Papers to Law Enforcement Officia|s

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment or both. Ail information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney Generai acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARN|NG: Section 521 (a)(i) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, iiabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this

information is not filed with the court Within the time deadlines set by the Bankruptcy Code, the Bankruptcy Flules, and the local
rules of the court.

Certificate ot Comp|iance with § 342(b) of the Bankruptcy Code

l, MAGDALA|NE EBEADE , counsel for Debtor(s), hereby certify that l delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

no l o q g g f
MAGDAL E EBEADE, Attorney for Debtor(s)

Bar No.: 24050549

Cage, Hili & Niehaus, L.L.P.

5851 San Felipe

Suite 950

Houston, Texas 77057

Phone: (713) 789-0500

Fax: (713) 974-0344

E-Mail: maggieebeade@cagehill.com

Certificate of the Debtor
l (We), the debtor(s), affirm that i (we) have received and read this notic j

Jack H. Swepston 12/02/2007

X
_`\_ji§nature of Debtor Date
X

Case No. (if known) Signature of Joint Debtor (if any) Date

 

Printed Name(s) of Debtor(s)

 

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UN|TED STATES BANKRUPTCY COURT
SOUTHEF{N DiSTFl|CT OF TEXAS
HOUSTON D|VlS|ON

Officiai Form 6 - Summary (10/06)

iN FiE: Jack H. Swepston

12/02/2007 04:58:40pm

CASE NO

CHAPTEFt 7

SUMMARY OF SCHEDULES

indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedu|es A, B, D, E, F, i, and J in the boxes provided Acld the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Acld the amounts of all claims from Scheduies D, E, and F to determine the total amount ot the debtor's iiabiiities.
individual debtors must also complete the "Statisticai Summary of Certain Liabiiities and Related Data" if they file a case under chapter

 

  
     
 

 

 

 

 
 

 

 

 

 

   

 

 
   

 

   

 

 

 

  

 

 

 

 

 
   

 

 

7, 1 13 or 13.
ATI'ACHED NO. OF
NAME OF SCHEDULE ASSETS LlABlLlT|ES
(YESlNO) SHEETS
A - Real Property Yes 1 $162,100.00
B - Personai Property Yes 5 $138,293.09
C - Property Ciaimed Yes 1
as Exempt
D - Creditors Holding Yes 1 $167,884.05 f
Secured Ciaims
E - Creditors Holding Unsecured
Priority Ciaims Yes 1 $0.00
(Total of Ciaims on Schedule E)
F - Creditors Holding Unsecured Yes 4 $376,385.56
Nonpriority Ciaims
G - Executory Contracts and Yes 1
Unexpired Leases
H - Codebtors Yes 1
l - Current income of yes 1 $4’288_84
individual Debtor(s)
J - Current Expenditures of Yes 1 $3,780_67
individual Debtor(s)
TOTAL 1 7 $300,393.09 $544,269.61

 

 
  

   

 

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12/02/2007 04:58:40pm
Officiai Form 6 - Statisticai Summary (10/06) UN|TED STATES BANKRUPTCY COUF{T
SQUTHERN D|STR|CT OF TEXAS
HOUSTON DlViS|ON

lN Fth Jack H. Swepston CASE NO

CHAPTER 7

STAT|ST|CAL SUMMARY OF CERTA|N LlABlLlTlES AND RELATED DATA (28 U.S.C. § 159)

if you are an individual debtor whose debts are primarily consumer debts, as defined in § 101 (8) of the Bankruptcy Code (11 U.S.C. §
101 (8)), filing a case under chapter 7, 1 1, or 13, you must report ali information requested below.

|:| Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of iiabiiities, as reported in the Scheduies, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

Type of Liabiiity Amount
Domestic Support Obligations (from Scheduie E) $0.00
Taxes and Certain Other Debts Owed to Governmentai Units $0 00
(from Scheduie E) (whether disputed or undisputed) '
Ciaims for Death or Personai injury While Debtor Was $o 00
intoxicated (from Scheduie E) `
Student Loan Obligations (from Scheduie F) $0.00
Domestic Support, Separation Agreement, and Divorce Decree $o 00
Obligations Not Fieported on Scheduie E `
Obligations to Pension or Profit-Sharing, and Other Similar $0 00
Obligations (from Scheduie F) '
TOTAL $0.00
State the foilowing:
Average income (from Scheduie l, Line 16) $4,288.84
Average Expenses (from Scheduie J, Line 18) $3,780.67
Current Monthly income (from Form 22A Line 12; OR, Form 22B
Line 1 1; OR, Form 22C Line 20)

 

 

 

State the foilowing:

1. Total from Scheduie D, “UNSECURED POFiTiON, iF ANY"
column

 

$7,178.16

 

 
  

2. Total from Scheduie E, "AMOUNT ENT|TLED TO PRiOFiiTY"
column

 

 

3. Total from Scheduie E, "AMOUNT NOT ENT|TLED TO
PR|OR|TY, |F ANY" Column

 

4. Total from Scheduie F $376,385.56

 
 

 

5. Total of non-priority unsecured debt (sum of 1, 3, and 4)

 

$383,563.72

  

 

 

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Form BSA
(1 0/05)

in re Jack H. Swepston Case No.

(if known)

SCHEDULE A - REAL PRCPERTY

 

10063 Kemp Forest Drive, Houston, TX 77080 Homestead - $162,100.00
Cliffs at Peace Canyon Timeshare - $0.00
4550 South Grand Canyon Drive

Las Vegas, NV 89147

Assessor Parcel #163-19-701-003,004,015

 

 

$1 30,396.33

$0.00

 

 

 

 

 

 

Tota|:

(Fteport also on Summary of Scheduies)

 

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12/02/2007 o4;58:4opm
Form B€B

(10/05)

in re Jack H. Swepston Case No.
(if known)

SCHEDULE B - PERSONAL PROPERTY

 

1. Cash on hand Cash _ - $50.00
2. Checking, savings or other finan- San Antonio Credit Union - $9.96
cial accounts, certificates of deposit, (Checking)
or shares in banks, savings and ioan,
thrift, building and ioan, and home~ San Antionio Credit Union - $9.52
stead associations, or credit unions, (Savings)
brokerage houses, or cooperatives
Aliied Credit Union - $5.02
Chase - $26.63
3. Security deposits with public util- X
ities, telephone companies, land-
lords, and others.
4. Househoid goods and furnishings, Washer & Dryer, Fiefrigerator, Sofa, 2 Fleciiners, TV, Dining - $7,000.00
including audio, video and computer Hoom Tabie, Chairs, & Breakfront, King Bed, Dresser, 2
equipment Smaii Chairs, Misc, Smaii Appiiances
5. Books; pictures and other art X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or coilectibles.
6. Wearing apparei. Mens' Clothing - $1,000.00
7. Furs and jewelry. ` X
8. Firearms and sports, photo- X
graphic, and other hobby equipment

 

 

 

 

 

 

 

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Form B6B-Cont.
(10/05) '”

in re Jack H. Swepston Case No.
(if known)

SCHEDULE B - PERSONAL PROPERTY

Continuation Sheet No. 1

 

9. interests in insurance policies Ailstate Life insurance Policy - $17,423.55
Name insurance company of each
policy and itemize surrender or Symetra Life insurance Policy - $6,893.80

refund value of each.

10. Annuities. itemize and name X
each issuer.
1 1. interests in an education iFiA as X

defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars (Fi|e separately
the record(s) of any such interest(s).
11 U.S.C. § 521 (c); Ruie 1007(b)).

12. interests in lFlA, ER|SA, Keogh, Fideiity 401 (k) - $29,200.61
or other pension or profit sharing
plans Give particulars. Edward Jones lRA - $42,539.00

Edward Jones Floth iFtA - $2,880.00
13. Stock and interests in incorpo- X
rated and unincorporated businesses

itemize.

14. interests in partnerships or joint X
ventures itemize.

15. Government and corporate bonds X
and other negotiable and non-

negotiable instruments

16. Accounts receivable. X

 

 

 

 

 

 

 

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Form BSB-Cont.

rio/os)

in re Jack H. Swepston Case No.
(if known)

SCHEDULE B - PERSONAL PROPERTY

Continuation Sheet No. 2

 

17. Aiimony, maintenance, support, X
and property settlements to which the
debtor is or may be entitled Give

particulars

18. Other liquidated debts owed to X
debtor including tax refunds Give
particulars

19. Equitabie or future interests life X

estates and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Scheduie A - Fieal

Property.

20. Contingent and noncontingent X
interests in estate of a decedent, death
benefit plan, life insurance poiicy, or
trust.

21 . Other contingent and unliqui- X
dated claims of every nature,
including tax refunds counterclaims
of the debtor, and rights to setoff
claims Give estimated value of each.

22. Patents, copyrights and other X
intellectual property. Give

particulars

23. Licenses, franchises and other X

general intangibles Give particulars

 

 

 

 

 

 

 

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Form B6B-Cont.

(10/05)

in re Jack H. Swepston Case No.
(if known)

SCHEDULE B - PERSONAL PROPERTY

Continuation Sheet No. 3

 

24. Customer lists or other compilations X
containing personally identifiable
information (as defined in 11 U.S.C.

1 01 (41 A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personai, family, or
household purposes

25. Automobiles, trucks trailers 2007 Chevroiet Trailbiazer - $27,000.00
and other vehicles and accessories

2003 Jeep Liberty ~ $3,755.00
26. Boats, motors and accessories X
27. Aircraft and accessories X

28. Office equipment, furnishings X
and supplies

29. Machinery, fixtures equipment, Desktop Computer & Printer - $500.00
and supplies used in business

30. lnventory. X
31. Animais. X

32. Crops - growing or harvested X
Give particulars

33. Farming equipment and X
implements

34. Farm supplies chemicals and X
feed

 

 

 

 

 

 

 

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Form BSB-Cont.

(10/05)

in re Jack H. Swepston Case No.
(if known)

SCHEDULE B - PERSONAL PROPERTY

Continuation Sheet No. 4

 

35. Other personal property of any X
kind not already listed ltemize.

 

 

 

 

 

 

 

(lnciude amounts from any continuation sheets attached Report total also on Summary of Scheduies) Total >

 

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Form BSC
(04/07)

in re Jack H. Swepston

Case No.

(lf known)

SCHEDULE C - PROPERTY CLA|MED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:

(Check one box)

jj 11 u.sc.§szz(b)(z)
11 u.s.c.§szz(b)(s)

1

 

10063 Kemp Forest Drive, Houston, TX 77080

Washer & Dryer, Refrigerator, Sofa, 2 Reciiners
TV, Dining Room Tabie, Chairs, & Breakfront,
King Bed, Dresser, 2 Smail Chairs, Misc. Smail
Appiiances

Mens' Ciothing

Aiistate Life insurance Policy
Symetra Life insurance Policy
Fideiity 401 (k)

Edward Jones iRA

Edward Jones Fioth lFiA

2007 Chevroiet Trailblazer

Desktop Computer & Printer

 

 

$136,875.

Const. art. 16 §§ 50, 51, Texas Prop.
Code §§ 41 .001-.002

Tex. Prop. Code §§ 42.001(a), 42.002
(a)(1 )

Tex. Prop. Code §§ 42.001(a), 42.002
(a)(5)

Tex. ins Code § 1108.051
Tex. ins Code § 1108.051
Tex. Prop. Code § 42.0021
Tex. Prop. Code § 42.0021
Tex. Prop. Code § 42.0021

Tex. Prop. Code §§ 42.001(a), 42.002
(a)(9)

Tex. Prop. Code §§ 42.001(a), 42.002
(a)(4)

 

 

$31,703.67

$7,000.00

$1,000.00

$91 1 .65
$786.76
$29,200.61
$42,539.00
$2,880.00

$445.44

$500.00

 

|:| Check if debtor claims a homestead exemption that exceeds

$162,100.00

$7,000.00

$1,000.00

$17,423.55
$6,893.80
$29,200.61
$42,539.00
$2,880.00

$27,000.00

$500.00

 

 

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Officiai Form 6D (10/06)
in re Jack H. Swepston Case No.

 

(if known)

SCHEDULE D - CRED|TORS HOLD|NG SECURED CLA|MS

|:| Check this box if debtor has no creditors holding secured claims to report on this Scheduie D.

 

DATE lNCURRED: 5[1 3/2003

 

ACCT #: 2301 NATunE oF LiEN;
Mortgage
citimorrgage C°LLATE“ALZ . $130 396 33
10063 Kemp Forest Dnve, Houston, TX 77080 ’ '
P.O. Box 9438 _ REMARKS:

Gaithersburg, MD 20898-9438

 

 

 

 

 

 

 

vALuE: $162,100.00
DATE 1NcunnED:
ACCT #: NATunE 01= L1EN: cls/2007
Purchase Money
San Antonio Federa| Credit Union CG'~LATERA": $26 554 56
2007 Ch l t T 'lb| ’ '
P.o_ Box 1356 _ REMAF“(S:evro e rat azer
San Antonio, TX 78295-1356
vALuE.- ` $27,000.00
DATE 1Ncunn1zo;
ACCT #: NATuFlE or= LiEN; 5/13/2003
§§{t°fi§§ft““°“e’
San Antonio Federai Credit Union i $10 933 16 $7 178 16
2003 J L`b ’ ' ’ '
P.o. Box 3156 _ REMARK§F" ' my
San Antonio, TX 78295-3156
vALuE: $3,755.00

 

 

 

 

 

 

 

 

 

 

 

 

Subtotai (Totai of this Page) >
Total (Use only on last page) >

 

Ng continuation sheets attached (Report also on (lf applicable,
Summary of report also on
Scheduies) Statistical
Summary of
Certain Liabiiities
and Reiated

Data)

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official Form 6E (04/07)

in re Jack H. Swepston Case No.

 

(lf Known)

SCHEDULE E - CRED|TORS HOLD|NG UNSECURED PR|ORITY CLA|MS

|Z[ Check this box if debtor has no creditors holding unsecured priority claims to report on this Scheduie E.

TYPES OF PR|OR|TY CLA|MS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

[_] Domestic Support Obligations

Ciaims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a chi|d, or a governmental unit to whom such a domestic support claim has been assigned to the extent
provided in 11 U.S.C. § 507(a)(1).

|:| Extensions of credit in an involuntary case

Ciaims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

|:| Wages, salaries and commissions
Wages, salaries and commissions including vacation, severance, and sick leave pay owing to employees and commissions owing to
qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
petition, or the cessation of business whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

j:] Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

[:j Certain farmers and fishermen
Ciaims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

|:| Deposits by individuals
Ciaims of individuals up to $2,425* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
that were not delivered or provided 11 U.S.C. § 507(a)(7).

|:j Taxes and Certain Other Debts Owed to Governmenta| Units
Taxes customs duties and penalties owing to federa|, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

|:_| Commitments to Maintain the Capitai of an insured Depository institution
Ciaims based on commitments to the FD|C, FtTC, Director of the Office of Thrift Supervision, Comptroiier of the Currency, or Board of Govemors

of the Federai Reserve System, or their predecessors or successors to maintain the capital of an insured depository institution. 11 U.S.C. §
507(a)(9).

m Ciaims for Death or Personai injury While Debtor Was intoxicated

Ciaims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 1 1 U.S.C. § 507(a)(10).

jj Administrative allowances under 11 U.S.C. Sec. 330

Ciaims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessionai person employed
by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.

* Amounts are subject to adjustmenth Apn'l 1, 2010, and every three years thereafter With respect to cases commenced on or after the date of
adjustment

big continuation sheets attached

ry

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Officiai Form 6F (10/06)
in re Jack H. Swepston

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

|:j Check this box if debtor has no creditors holding unsecured claims to report on this Scheduie F.

 

 

Case No.

 

(if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ continuation sheets attached

(Use only on last page of the completed Scheduie F.
(Report also on Summary of Scheduies and, if applicable, on the
Statisticai Summary of Certain Liabiiities and Reiated Data.

 

 

Total >

 

 

ACCT #: DATE1NcuRF1ED; v
. coNsroEFiAnoN:
Allled Home Mortgage Corp. Business Debt $300,000.00
clo Jim Hodge nEMAnks= x x x
61 10 Pinem°nt Pending Lawsuit - Breach of ContractlBreach
Houston, TX of Fiduciary Duty
Fiepresenting: Murphy S-_ Kasing _ Notice On|y
Aliied Home Mortgage Corp. 1221 McKmney, Surte 3200
Houston, TX 77010
ACCT #: xxxx-xxxxxx-x1000 DATE lNCURRED¢ 2007
_ coNsmEnAnoN:
Amerlcan Express Credit Card $647.93
P.O. Box 297814 nEMAnks:
Ft. Lauderdale, FL 33329-7814
ACCT #: xxxx-xxxx-xxxx-4308 DATE lNCURFlED= 2006
_ cousioEnAnoN:
Bank of Amerlca Credit Card $9,004.07
P.D. Box 15026 nEMAnks;
Wi|mington, DE 19850-5026
ACCT #: xxxxxxxxxx9641 DATE lNCURHED= 2003
_ coNsmEnAnoN;
Bank of Amerlca Credit Card $5,447.98
P.O. Box 15027 REMAnks:
Wiimington, DE 19850-5027
ACCT #: xxxx-xxxx-xxxx-4517 DATE lNCURRED= 2006
_ coNsmEnAnoN-.
Capltal One Credit Card $1,074.92
P.O. Box 30285 nEuAnks:
Sa|t Lake City, UT 84130-0285
Subtotal >

 

 

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Officiai Form 6F (10/06) - Cont.
|n re Jack H. Swepston Case No.

1%]"1)2/2007 04:58:42pm

 

(if known)

SCHEDULE F - CREDITORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ACCT #: xxxx-xxxx-xxxx-1140 DATE lNCU RRED= 1997
. coNleERATroN;
Capltal One credit Card $4,229.00
P.O. Box 30285 REMARKS:
Salt Lake City, UT 84130-0285
ACCT #: xxxx-xxxx-xxxx-3917 DATE lNCURRED= 1996
_ coNleERATrON;
Capita| One Credit Card $3,1 57.51
P.O. Box 30285 REMARKS.-
Salt Lake City, UT 84130-0285
ACCT #: xxxx-xxxx-xxxx~6084 DATE lNcuRFiED; 2006
. coNleEnATloN;
Chase Card Services Credit Card $12,033.48
P.O. Box 15298 REMARKS;
Wi|mington, DE 19850-5298
ACCT #: xxxx-xxxx-xxxx-8387 DATE lNCUHRED¢ 2003
, , coNsloEnATloN;
Chase Card Services - Contlnental credit card $15,804_64
P.O. Box 15298 REMARKS:
Wi|mington, DE 19850-5298
ACCT #: xxxx-xxxx-xxxx-7809 DATE 'NCUHREDf 2006
. coNsiDEnATloN; .
Dlscover Credit Card $5,875.01
P.O. Box 30943 REMARKS:
Salt Lake City, UT 84130
ACCT #: xxxx-xxxx-xxxx-0092 DATE lNCURF‘ED= 2003
coNleEFiATloN;
Mastercard Go|d Credit Card $5,037.04
P.O. Box 815909 REMARKS;
Da|las, TX 75381-5909
Sheet no. 1 of § continuation sheets attached to Subtotal >

Schedule of Creditors Holding Unsecured Nonpriority Ciaims
Total >

(Use only on last page of the completed Schedule F.

(Report also on Summary of Schedules and, if applicable, on the

Statistical Summary of Certain Liabilities and Related Data.

 

   

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Otiicial Form 6F (10/06) - Cont.
ln re Jack H. Swepston . Case No.

 

(if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NCNPR|OR|TY CLA|MS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ACCT #: x1620 DATE lNcunRED; 2003
_ _ _ coNleERATloN;
Medtcal Cllnlc of Houston, LLP Medical Expenses Unknown
P.O. Box 4346, Dept. 142 REMARKS;
Houston, TX 77210-4346
ACCT #: xxxxxxx0476 DATE ‘NCURF\ED= 2003
_ coNleERATloN;
Medical Control Assn. of Houston Medical Expenses $200.00
clo Specia|ized Collection Systems REMARKS;
P.O. Box 441508
Houston, TX 77254-1508
ACCT #: xxxxxxxxx-7303 DATE 'NCURHEDf 11I6l07
. . CONS!DERAT|GN:
Methodlst Hosplta| Medical Expenses $448.54
P.O. Box 4315 nEMAnKs:
Houston, TX 77210-4315
ACCT #: xxxxA000 DATE lNcuRRED: 2007
. . CONS|DERATlON:
Momtor Medlcal, lnc. Medical Expenses Unknown
P.O. Box 2527 REMARKS;
Sugar Land, TX 77487-2527
ACCT #: xxxx-xxxx-xxxx-4037 DATE 'NCURRED= 2001
coNsquRATloN;
Orchard Bank Credit Card $1,443.08
clo HSBC Card Services nEMARKs.-
P.O. Box 80584
Salinas, CA 93912-0034
ACCT #: DATE lNcunnEr): 2007
. . . . CONSlDERATlON:
TMH Physiclan Organlzatlon Medical Expenses Unknown
6560 Fannin, #802 REMARKS;
Houston, TX 77030

 

 

 

 

 

Sheet no. 2 of 3 continuation sheets attached to

Schedule ot Creditors Holding Unsecured Nonpriority Ciaims

Subtotal >

Total >

(Use only on last page of the completed Schedule F.)

(Report also on Summary of Schedules and, if applicable, on the

Statistica| Summary of Certain Liabiiities and Related Data.)

 

 

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Official Form 6F (10/06) - Cont.
ln re Jack H. Swepston

Case No.

12/02/2007 04:58:42pm

 

(if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

 

ACCT #: xxxx-xxxx-xxxx-0199

 

Washington Mutual
P.O. Box 660509
Dallas, TX 75266-0509

DATE lNcuRRED;
coNleERATloN; 1996
Credit Card

REMAF\KS:

$1 1,982.36

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sheet no. 3 of 3 continuation sheets attached to

Subtotal >
Schedule of Creditors Holding Unsecured Nonpriority Claims

Total >
(Use only on last page of the completed Schedule F.)
(Report also on Summary of Schedules and, if applicable, on the

Statistical Summary of Certain Liabilities and Related Data.)

 

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Form BSG
(1 0/05)

ln re Jack H. Swepston Case No.

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXP|RED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. lnclude any timeshare interests.
State nature of debtor‘s interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described lf a minor child is a party to
one of the leases or contracts, indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.
R. Bankr. P. 1007(m).

|:| Check this box if debtor has no executory contracts or unexpired leases.

 

Allstate Life lnsurance Co. Whole Life lns. Policy
P.O. Box 80469 Contract to be ASSUMED
Linco|n, NE 68501

Sprint Mobi|e Phone Service
P.O. Box 660075 Contract to be ASSUMED
Dallas, TX 75266-0075

Symetra Life lnsurance Co. Whole Life lns. Policy
individual Life Dept. Contract to be ASSUMED
P.O. Box 34690

Seattle, WA 98124-1690

 

 

 

 

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Form BGH
(10/05)
ln re Jack H. Swepston Case No.

(if known)

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. lnclude all guarantors and co-signers. lf the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Ftico, Texas, Washington, or Wisconsin) within the eight
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and ot any fenner spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. lnclude all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. lf a minor child is a codebtor or a creditor, indicate that by stating "a minor child‘l and do not
disclose the chi|d's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

Check this box if debtor has no codebtors

 

 

 

 

 

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official Form el (10/06)

ln re Jack H. Swepston Case No.
(if known)

SCHEDULE l - CURRENT lNCOME OF lNDlVlDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

Debtor's Marita| Status:

Relationship: : Relationship:

Divorced

 

Occupation Finance Manager

Name of Employer Lithcon Petroleum USA, LP
How Long Employed 2 years

Address of Employer 820 Gesner

 

 

 

 

 

 

 

 

 

 

 

 

Suite 1630
Houston, TX 77024
lNCOME: (Estimate of average or projected monthly income at time case filed) DEBTOR SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly) $6,031.67
2. Estimate monthly overtime $0 00
3. SUBTOTAL
4 LESS PAYROLL DEDUCT|ONS
a. Payroll taxes (includes social security tax if b. is zero) $239.00
b. Social Security Tax $361.05
c. Medicare $84.44
d. lnsurance $0.00
e. Union dues $0.00
f. Retirement Voluntary $1,250.00
g. Other (Specify) FSA $208.34
h. Other (Specify) $0.00
i. Other (Specify) $0.00
j. Other (Specify) ' $0.00
k. Other (Specify) $0.00
5 SUBTOTAL OF PAYROLL DEDUCT|ONS
6 TOTAL NET MONTHLY TAKE HOlVlE PAY _'
7. Regular income from operation of business or profession or farm (Attach detailed stmt) $0.00
8 income from real property $0.00
9. lnterest and dividends $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or $0.00

that of dependents listed above
11. Social security or government assistance (Specify):

 

 

 

$0.00

12. Pension or retirement income $0.00
13. Other monthly income (Specify):

a. Misc. Tax Services to Former Clients $400.00

b. $0.00

c. $0.00

 

14. SUBTOTAL OF LlNES 7 THRCUGH 13
15. AVERAGE MONTHLY lNCOME (Add amounts shown on lines 6 and 14)
16. COMBlNED AVERAGE MONTHLY lNCOME: (Combine column totals from line 15;
if there is only one debtor repeat total reported on line 15) (Report also On Summary of Schedules and, if applicable,
on Statistica| Summary of Certain Liabiiities and Related Data)

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document

Laid off on 11/21/07; Debtor will continue»to receive compensation from employer until 12/31/07, at which time Debtor will have no
income until/unless he finds another job

 

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Officiai Form 6J (10/06)

lN RE: Jack H. Swepston CASE NO

CHAPTER 7

SCHEDULE J - CURRENT EXPEND|TURES OF lNDlVlDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor‘s family at time case filed. Prorate any
payments made bi~weekly, quarterly, semi-annuaily, or annually to show monthly rate.

Check this box if a joint petition is filed and debtor's spouse maintains a separate househoid. Complete a separate schedule of expenditures
labeled "Spouse."

 

1. Rent or home mortgage payment (include lot rented for mobile home) $1,220.00
a. Are real estate taxes included? Yes |'_"| No
b. is property insurance included? Yes |:j No

 

 

2. Utilities: a. Electricity and heating fuel $300.00

b. Water and sewer

c. Telephone $130.00

d. Other: Cab|e $100.00
3. Home maintenance (repairs and upkeep) $170.00
4. Food $300.00
5. Ciothing $30.00
6. Laundry and dry cleaning f $15.00
7. Medical and dental expenses $200.00
8. Transportation (not including car payments) $190.00
9. Fiecreation, clubs and entertainment, newspapers, magazines, etc. $50.00

10. Charitable contributions

 

1 1. insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner's or renter's

 

 

b. Life $390.00
c. Health
d. Auto $225.00
e. Other: Flood insurance $25.00
12. Taxes (not deducted from wages or included in home mortgage payments)
Specify:
13. installment payments: (ln chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto: W\/lCA - gym membership $51.00
b. Other: Sprint - cell phone $68.00
c. Other:
d. Other:

 

14. Alimony, maintenance, and support paid to others:
15. Payments for support of add'| dependents not living at your home:

16. Regular expenses from operation of business, profession, or farm (attach detailed statement) $316.67
17.a. Other:
1 7.b. Other:

 

 

 

 

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
document: Debtor will have to start paying for private health insurance premiums until he finds a new job; Estimate: $441/mo.

20. STATEMENT OF MONTHLY NET lNCOME

a. Average monthly income from Line 15 of Schedule i $4,288.84
b. Average monthly expenses from Line 18 above $3,780.67
c. ivionthly net income (a. minus b.) $508.17

 

 

 

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Officiai Form 6 - Deciaration (10/06)
ln re Jack H. Swepston Case No.

DECLARAT|ON CONCERN|NG DEBTOR'S SCHEDULES
DECLARAT|ON UNDER PENALTY OF PERJURY BY lNDlVlDUAL DEBTOR
l declare under penalty of perjury that l have read the foregoing summary and schedules, consisting of 19

_ _ _ (Totai shown on summary page as attached plus 2.)
sheets, and that they are true and correct to the best of my knowiedge, lnformation, and belief.

Date 12/02/2007 Signature Q¢‘/'Uy

Jacqi§é/epston

Date' Signature

 

[lf joint case, both spouses must sign.]

 

Penaity for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.

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Officiai Form 8
(1 0/05)

lN RE: Jack H. Swepston

UN|TED STATES BANKRUPTCY COURT
SOUTHEF{N DlSTRICT OF TEXAS
HOUSTON DlVlSlON

CASE NO

CHAPTER 7

CHAPTER 7 lNDlVlDUAL DEBTOR'S STATEMENT OF lNTENTlON

M l have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

M i have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired iease.

M i"intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:

 

10063 Kemp Forest Drive,
Houston, TX 77080

2007 Chevroiet Traiiblazer

2003 Jeep Liberty

CitiMortgage

P.O. Box 9438 Debtor will continue making payments to creditor without
Gaithersburg, MD 20898-9438 reaffirming.

2301

San Antonio Federai Credit Union |:| |:| [] M
P.O. Box 1356

San Antonio, TX 78295-1356

San Antonio Federai Credit Union [:| |:| |:|
P.O. Box 3156

San Antonio, TX 78295-3156

 

Whole Life lns. Policy

Mobiie Phone Service

Whole Life ins. Policy

Date 1 2/02/2007

Date

Allstate Life insurance Co. E[
P.O. Box 80469
Linco|n, NE 68501

Sprint E[
R.O. Box 660075
Dallas, TX 75266-0075

Symetra Life insurance Co.

individual Life Dept.
Signature Q‘ ¢/&

P.O. Box 34690
ack H. Swepston

§

Seattle, WA 98124-1690

Signature

 

 

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Officiai Form 7 UN|TED STATES BANKRUPTCY COURT
(°4/07) SOUTHERN DlSTFllCT OF TEXAS
HOUSTCN DlVlSlON
in re: Jack H. Swepston Case No.

(if known)

STATEMENT OF FlNANClAL AFFA|RS

 

None

l:l

1. income from employment or operation of business

State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. identify the
beginning and ending dates of the debtor‘s fiscal year.) if a joint petition is filed, state income for each spouse separateiy. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

AMOUNT SOURCE

$63,703.57 2007 Lithcon Petroleum (VTD) [after deductions for 401 (k) and FSA ($2,500)]

$6,400.00 2007 Misc. Tax Services for Former Clients & Acquaintances (¥TD)

$58,285.00 2006 Lithcon Petroleum USA, LP [after deductions for 401 (k) ($12,000) and FSA
($2,500)]

$6,925.00 2006 Misc. Tax Services for Former Clients & Acquaintances

$8,121.79 2005 Lithcon Petroleum USA, LP

$12,294.00 2005 Misc. Tax Services for Former Clients & Acquaintances

 

None

2. income other than from employment or operation of business

State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
two years immediately preceding the commencement of this case. Give particulars if a joint petition is filed, state income for each spouse
separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,

unless the spouses are separated and a joint petition is not filed.)

 

None

3. Payments to creditors
Complete a. or b., as appropriate and c.

a. individual or joint debtor(s) with primarily consumer debts: List ali payments on ioans, installment purchases of goods or services, and other
debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
constitutes or is affected by such transfer is not less than $600. indicate with an asterisk (*) any payments that were made to a creditor on
account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

None

b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than
$5,475. (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

None

c. Aii debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CRED|TOR DATE OF

AND RELAT|ONSH|P TO DEBTOR PAYMENT AMOUNT PAlD AMOUNT STiLL OWlNG
Dorris Swepston 12/1 4106 $250.00 $2,646“31

4712 Wedgewood 1/20/07 $250.00 (Debtor has been

Be||aire, TX 77401 2l24/07 $250.00 making regular

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Officiai Form 7 ' C<>m- UN|TED STATES BANKRUPTCY COURT
(04/°7) ` SOUTHERN DlSTR|CT OF TEXAS
HOUSTON DlVlSlON
in re: Jack H. Swepston Case No.
(if known)
sTATEMENT oF FiNANclAL AFFAle
Continuation Sheet No. 1
3/19/07 $250.00 payments to mother
4J16/07 $250.00 in the amount of
6/24/07 $500.00 $250.00/mo since
7/15/07 $250.00 2000 or 2001)
.{ 9/30/07 $500.00
1 0/25/07 $500.00

 

None

l:l

4. Suits and administrative proceedings, executions, garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTlON OF SUlT AND COURT GR AGENCY STATUS OR

CASE NUMBER NATURE OF PRCCEED|NG AND LOCATlON DlSPOSlTiCN

Aliied Home Mortgage Capital Breach of Contract; 295th Judicial District Partial Summary
Corp. v. Jack Swepston, Jr.; Breach of Fiduciary Court of Harris County, Judgment Entered;
Cause No. 2006-14638 Duty Texas Damages Unliquidated

 

None

b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

None

5. Fiepossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must

include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

 

None

6. Assignments and receiverships

a. Describe any assignmenth property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed.)

 

None

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

None

7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
per recipient (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

None

8. Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

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Officiai Form 7 - Cont- UN|TED STATES BAN KRUPTCY COU RT
(04/07) SOUTHERN DlSTR|CT OF TEXAS
HOUSTON DlVlSlON
in re: Jack H. Swepston Case No.

(if known)

STATEMENT OF FlNANClAL AFFA|RS

Continuation Sheet No. 2

 

None

|:l

9. Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attomeys, for consultation concerning debt
consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
of this case.
1

DATE OF PAYMENT,
NAME OF PAYER lF AMOUNT OF MONEV OR DESCRlPTlON
NAME AND ADDRESS 0F PAYEE OTHER THAN DEBTOR AND VALUE OF PRDPERTY
A||en Credit & Debt Counseling Agency 11/27/07 $50.00
195 Brooks St. East
Wessington, SD 57381
Cage, Hili & Niehaus, L.L.P. 11l29l07 $816.90 - Prev. Bal. for Bank.
5851 San Felipe, Ste. 950 Related Matters
Houston, TX 77057 $3,200.00 - Matters Reiated to

Ch. 7 Filing
$299.00 - Court Filing Fee

Total: $4,31 5.90

 

None

10. Other transfers

a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred

either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

NAME AND ADDRESS CF TRANSFEREE, DESCFilBE PROPERTY TRANSFERRED
RELATlONSHlP TO DEBTOR DATE AND VALUE RECElVED

Gary Lambert 11l30l07 1970 MGB (poorlfair condition)
5644 Westheimer #259 $2,500

Houston, TX 77056

Kathy Lomer v 1/2007 12.5% interest in Joint Venture (no
4048 Migration Lane value)

Gahanna, OH 73230 $0.00

 

None

b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
similar device of which the debtor is a beneficiary.

 

None

11. Closed financial accounts

List all financial accounts and instruments held in the name of the debtor cr for the benefit of the debtor Which were closed, sold, or otherwise
transferred within one year immediately preceding the commencement of this case. include checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
brokerage houses and other financial institutions (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

 

None

12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

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Officiai Form 7 - Cont. UN|TED STATES BANKRUPTCV COURT
(04/07) SOUTHERN DiSTFthT OF TEXAS
HOUSTON DlVlSlON
in re: Jack H. Swepston Case No.

(if known)

STATEMENT OF FlNANClAL AFFA|RS

Continuation Sheet No. 3

 

None

13. Setoffs

List all setoffs made by any creditor, including a bank, against a debtor deposit of the debtor within 90 days preceding the commencement of this
case, (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

14. Property held for another person

 

 

 

 

 

ge List ali property owned by another person that the debtor holds or controls.
DESCFilPTlON AND VALUE
NAME AND ADDRESS OF OWNER OF PROPERTY LOCAT|ON OF PROPERTY
Hodge Family Trust CD - $22,125.04 Amegy Bank
clo Jack H. Swepston, Jr., Trustee Checking - $20,338.48
10063 Kemp Forest Drive
Houston, TX 77080
15. Prior address of debtor
Ne if the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
d during that period and vacated prior to the commencement of this case. if a joint petition is filed, report also any separate address of either
spouse.
16. Spouses and Former Spouses
None if the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, ldaho, Louisiana,
m Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
NAME
Susan Kie| (former spouse)
Address Unknown
17. Environmental information
For the purpose of this question, the following definitions apply:
"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
substances, wastes or material into the air, land, soil, surface Water, groundwater, or other medium, inciuding, but not limited to, statutes or
regulations regulating the cleanup of these substances, wastes, or material.
”Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
by the debtor, including, but not limited to, disposal sites.
"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
contaminant or similar term under an Environmental Law.
None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
potentially liable under or in violation of an Environmental Law. indicate the governmental unit, the date of the notice, and, if known, the
Environmental Lav\n
None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Materiai.

indicate the governmental unit to which the notice was sent and the date of the notice.

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Officiai Form 7 - Cont- UN|TED STATES BANKRUPTCY CGURT
(04/07) SOUTHERN DlSTRlCT OF TEXAS
HOUSTON DlVlSlON
in re: Jack H. Swepston Case No.

(if known)

STATEMENT OF FlNANClAL AFFA|RS

Continuation Sheet No. 4

 

None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is

or was a party. indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

 

‘ 18. Nature, location and name of business

NOl'lB

E|

a. if the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
sole proprietor, or was self-employed in a trade, profession, or other activity either full~ or part-time within six years immediately preceding the
commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
preceding the commencement of this case.

if the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
immediately preceding the commencement of this case.

if the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
dates of ali businesses in which the debtor was a partner or ov\med 5 percent or more of the voting or equity securities within six years
immediately preceding the commencement of this case.

NAME, ADDRESS, AND LAST FOUR DlGlTS 0F

SOC. SEC. NO. l CCMPLETE ElN OR OTHER BEGlNNlNG AND END|NG
TAXPAYER l.D. NO. NATURE OF BUSiNESS DATES

Houston MG Car Club, lnc. 501 (c)(7) Nonprofit Organization 2007

10063 Kemp Forest Drive

Houston, TX 77080

ElN: 0242804386

 

None

b. identify any business listed in response to subdivision a., above, that is “single asset real estate" as defined in 11 U.S.C. § 101.

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor, or
self-employed in a trade, profession, or other activity, either fu|l- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within

six years immediately preceding the commencement of this case, A debtor who has not been in business within those six years should go
directly to the signature page.)

 

None

E|

19. Books, records and financial statements

a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVlCES RENDERED
Wayne Proctor, Treasurer 2007

1602 Richvale Lane

Houston, TX 77062

 

None

i:l

b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
and records, cr prepared a financial statementh the debtor.

ge
r" -
'¢ ...-

NAME AND ADDRESS DATES SERVlCES RENDERED
None

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Officiai Form 7 - CO“L UN|TED STATES BANKRUPTCY COURT
(°4/°7) SOUTHERN DlSTRlCT OF TEXAS
HOUSTON DlVlSlON
in re: Jack H. Swepston Case No.
(if known)

STATEMENT OF FlNANClAL AFFA|RS

Continuation Sheet No. 5

 

 

None c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
n debtor. if any of the books of account and records are not available, explain.
`, NAME ADDRESS
Wayne Proctor Wayne Proctor, Treasurer
1602 Richvaie Lane
Houston, TX 77062
None

d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
the debtor within two years immediately preceding the commencement of this case.

 

None

20. inventories

a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
dollar amount and basis of each inventory.

 

None

b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.

 

None

21. Current Partners, Officers, Directors and Shareholders
a. if the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

 

None

b. if the debtor is a corporation, list all officers and directors of the corporation, and each stockholder Who directly or indirectly owns, controls, or
holds 5 percent or more of the voting or equity securities of the corporation,

 

None

22. Former partners, officers, directors and shareholders

a. if the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
of this case,

 

None

b. if the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
preceding the commencement of this case.

 

None

23. Withdrawals from a partnership or distributions by a corporation

if the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,

bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
case.

 

None

24. Tax Consolidation Group

if the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

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(04/07l ' SOUTHERN DlSTRlCT OF TEXAS
HOUSTON DlVlSlON
in re: Jack H. Swepston Case No.

(if known)

STATEMENT OF FlNANClAL AFFA|RS

Continuation Sheet No. 6

 

25. Pension Funds
Ne if the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an empioyer,
d has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

‘,

l declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

gate 12/02/2007 Signature M'D_

of DebM Jack H. Swepston

Date Signature
of Joint Debtor
(if any)

 

Penalty for making a false statement Fine of up to $500, 000 or imprisonment for up to 5 years or both. 18 U.S.C.
Sections 152 and 3571

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UN|TED STATES BANKRUPTCY COURT
SOUTHERN DlSTRlCT OF TEXAS
HOUSTON DlVlSlON

lN FiE: Jack H. Swepston CASE NO

CHAPTER 7

D|SCLOSURE OF COMPENSAT|ON OF ATTDRNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), l certify that l am the attorney for the above-named debtor(s) and
that compensation paid to me vw'thin one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

For legal services, l have agreed to accept Fixed Fee:

$3,200.00

‘Prior to the filing of this statement l have received: $3,200.00

Balance Due: $0.00

2. The source of the compensation paid to me was:
Ej Debtor |:] Other (specify)

3. The source of compensation to be paid to me is:
E[ Debtor n Other (specify)

4- l have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

n l have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
compensation, is attached.

5- in return for the above-disclosed fee, l have agreed to render legal service for all aspects of the bankruptcy case, including:
a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Fieaffirmation Agreements; Filing Fees

 

CERTlFlCATlON

l certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding

12’°2'2°°7 W_w /
Date /NE EBEADE Bar No. 24050549

Cage, Hili & Niehaus, L.L.P.

5851 San Felipe

Suite 950

Houston, Texas 77057

Phone: (713) 789-0500/ Fax: (713) 974-0344

 

 

 

 

 

l?.,..//S/

“"\_%:k H. Swepston

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UN|TED STATES BANKRUPTCY COURT
SOUTHERN DlSTR|CT OF TEXAS
HOUSTON DlVlSlON

lN RE: Jack H. Swepston CASE NO

CHAPTER 7

VER|F|CAT|ON OF CRED|TOR MATFllX

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge

Date 12/02/2007 Signature /y

Jack .Swepston

Date Signature

 

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Allied Home Mortgage Corp.
c/o Jim Hodge

6110 Pinemont

Houston, TX

Allstate Life lnsurance Co.
P.O. Box 80469
Lincoln, NE 68501

American Express
P.O. BOX 297814
Ft. Lauderdale, FL 33329-7814

Bank of America
P.O. BOX 15026
Wilmington, DE 19850-5026

Bank of America
P.O. BOX 15027
Wilmington, DE 19850-5027

Capital One `
P.O. Box 30285
Salt Lake City, UT 84130-0285

Chase Card Services
P.O. Box 15298
Wilmington, DE 19850-5298

Chase Card Services - Continental
P.O. Box 15298
Wilmington, DE 19850-5298

CitiMortgage
P.O. BOX 9438
Gaithersburg, MD 20898-9438

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Discover
P.O. Box 30943
Salt Lake City, UT 84130

Mastercard Gold
P.O. Box 815909
Dallas, TX 75381-5909

Medical Clinic of Houston, LLP
P.O. BOX 4346, Dept. 142
Houston, TX 77210-4346

Medical Control Assn. of Houston
c/o Specialized Collection Systems
P.O. Box 441508

Houston, TX 77254-1508

Methodist Hospital
P.O. BOX 4315
Houston, TX 77210-4315

Monitor Medical, Inc.
P.O. BOX 2527
Sugar Land, TX 77487-2527

Murphy S. Kasing
1221 MCKinney, Suite 3200
Houston, TX 77010

Orchard Bank

c/o HSBC Card Services
P.O. BOX 80584
SalinaS, CA 93912-0034

San Antonio Federal Credit Union
P.O. BOX 1356
San Antonio, TX 78295-1356

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San Antonio Federal Credit Union
P.O. Box 3156
San Antonio, TX 78295-3156

Sprint
P.O. BOX 660075
Dallas, TX 75266~0075

Symetra Life lnsurance Co.
Individual Life Dept.

P.O. BOX 34690

Seattle, WA 98124-1690

TMH Physician Organization
6560 Fannin, #802
Houston, TX 77030

Washington Mutual7
P.O. BOX 660509
Dallas, TX 75266-0509

